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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

CHARLES GRESHAM, et al.,

Plaintiffs,
Civil Action No. 1:18-cv-l900 (JEB)

ALEX M. AZAR II, et al.,

Defendants.

 

 

I, Timothy Hill, Acting Director for Medicaid and CHIP Services, Centers for Medicare
& Medicaid Services, United States Department of Health and Human Services, under
authority delegated to me by the Secretary of Health and Human Services, certify that, to
the best of my knowledge, the attached documents constitute a true and complete copy of
non-privileged material that CMS considered in approving Arkansas’s amendment to

Medicaid Section 1115 Demonstration Number ll-W-00287/6.

Dated: October 15, 2018 m

L/'Pimo`fii;y Hill

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